 

Case 5:18-cr-OOOBQUMWIT&§%§FD$JB;H/i)&/JEDI§>PP€ 1 of 4 Page|D 91

Northern District of Texas
Lubbock Division

UNITED STATES OF AMERICA

V.

Case Number: 5:18-CR-00059-C(Ol)
DERRICK ALAN THOl\/IAS USM No. 47140-177
Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, DERRICK ALAN THOMAS, Was represented by Sarah Gunter.

The defendant pleaded guilty to count l of the information filed July 2, 2018. Accordingly, the court has adjudicated
that the defendant ls guilty of the following offenses:

Count
Title & Section Nature of Offense Date of Offense Number
18 U.S.C. § 922(g)(l) and Convicted Felon In Possession OfA 06/02/2018 l

924(a)(2) Firearm

As pronounced on November l, 20]8, the defendant is sentenced as provided in pages l through 4 of this
judgment The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

lt is ordered that the defendant shall pay to the United States a special assessment of $100.00, for count l of the
information, which shall be due immediately Said special assessment shall be made to the Clerk, U.S. District Court.

It is further ordered that the defendant must notify the United States attorney for this district Within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material change in the defendant’s economic circumstances

Signed this the lst day of November, 2018.

  

 

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DEFENDANT: DERRICK ALAN THOMAS
CASE NUMBER: 5:18~CR-00059-C(01)
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 30 months as to count l to run consecutive to the sentence imposed in Case No. 5: 13-
CR-lO6-C(01) in Northern District of Texas, Lubbock Division, Case No. 5 : l3-CR-l 06-C(Ol); and consecutive
to any sentence imposed in Case No. 2018-415,248 pending in the 140th District Court, Lubbock County, TeXas.

The defendant shall remain in the custody of the U.S. Marshal Service.

The Court recommends incarceration at FCI Big Spring, Texas.

 

 

 

 

 

 

RETURN
l have executed this judgment as folloWs:
Defendant delivered on to
at , With a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 

 

 

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DEFENDANT: DERRICK ALAN THOMAS
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance

For offenses committed on or after September 13, 1994:
The defendant shall refrain from any unlawful use of a controlled substance The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use of a
controlled substance The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
substance abuse

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
resides, works, is a student, or was convicted of a qualifying offense

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The defendant shall participate in an approved program for domestic violence.

The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
sentence of restitution

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If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay
any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Fine and
Restitution sheet of the judgment

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
shall also comply with the additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) The defendant shall not leave thejudicial district without the permission of the court or probation officer.

2) The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3) The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4) The defendant shall support his or her dependents and meet other family responsibilities.

5) The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
reasons

6) The defendant shall notify the probation officer at least ten days prior to any change in residence or employment

7) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
unless granted permission to do so by the probation officer.

10) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
observed in plain view by the probation officer.

11) The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer.

12) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
the court.

13) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
with such notification requirement

 

 

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DEFENDANT: DERRICK ALAN THOMAS
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SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall abstain from the use of alcohol and all other intoxicants during the term of
supervision
2. The defendant shall participate in a program (inpatient and/or outpatient) approved by the U.S.

Probation Office for treatment of narcotic, drug, or alcohol dependency, which will include testing for
the detection of substance use or abuse. The defendant shall contribute to the costs of services rendered
(copayment) at a rate of at least $25.00 per month.

3. The defendant shall participate in mental health treatment services as directed by the probation officer
until successfully discharged. These services may include medications prescribed by a licensed
physician

 

